Case 8:20-mc-00127-JLS-JDE Document 13 Filed 12/29/20 Page 1 of 2 Page ID #:1270



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 Attorneys for HMD Global Oy


                          UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                           SOUTHERN DIVISION
 ___________________________________
                                     ) Case No. 8:20-mc-127 JLS (JDEx)
 HMD GLOBAL OY,                      )
                                     ) OPPOSED EX PARTE APPLICATION
    Movant,                          ) BY HMD GLOBAL OY FOR
                                     ) CLARIFICATION OF THIS
 v.                                  ) COURT’S SEALING PROCEDURES
                                     )
 ACACIA RESEARCH CORPORATION, ) Judge: John D. Early
                                     ) Date: [TBD]
    Respondent.                      ) Time: [TBD]
                                     ) Place: [TBD]
                                     ) Discovery Cutoff: March 18, 2021
                                     ) Pretrial Conference: June 29, 2021
 ___________________________________ ) Trial Date: August 2, 2021


 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
       PLEASE TAKE NOTICE HMD Global Oy (“HMD Global”), defendant in Cellular
 Communications Equipment LLC v. HMD Global Oy, Case No. 20-78 (E.D. Texas), will
 and hereby does file an ex parte application for clarification from this Court regarding its
 sealing procedures. HMD Global respectfully requests that this Court confirm HMD
 Global properly followed this Court’s procedures for filing under seal when it filed an
 Application for Leave to File Under Seal under Local Rule 79-5.2.2(b). HMD Global

                   EX PARTE APPLICATION BY HMD GLOBAL FOR CLARIFICATION OF SEALING PROCEDURES
Case 8:20-mc-00127-JLS-JDE Document 13 Filed 12/29/20 Page 2 of 2 Page ID #:1271



 further respectfully requests that this Court provide guidance regarding the procedures for
 future confidential filings in this matter.
       This Application is based on this Ex Parte Application, the concurrently filed
 memorandum of law, the Declaration of Matthew S. Warren and accompanying exhibits,
 as well as the pleadings and papers on file in this matter and in Cellular Communications
 Equipment LLC v. HMD Global Oy, Case No. 20-78 (E.D. Texas), any matters of which
 the Court may take judicial notice, and evidence or argument that HMD Global may
 present at or before the hearing on this matter.


 Date: December 29, 2020                        Respectfully submitted,

                                                ______________________________
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                                            –1–                            Case No. 8:20-mc-127
                    EX PARTE APPLICATION BY HMD GLOBAL FOR CLARIFICATION OF SEALING PROCEDURES
